                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 1 of 40



                                                                                                                                                                                                            Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: AVMBC Sunglasses Foil Balloons Sun Balloons Sun Smiley Face Balloons Large Sun Shaped Foil Mylar Balloons for Birthday Wedding Summer Theme Party Favors Decorations(4 Pcs) : Toys & Games

   URL
   https://www.amazon.com/AVMBC-Sunglasses-Balloons-Birthday-Decorations/dp/B0BBHBG96N/ref=sr_1_217

   Collection Date
   Tue, 09 May 2023 10:49:25 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   CeRPXo38pcgRKBlVVvIYLle5QYzaB0plhn7ENDI17Jiw+orvG7Ml2lIEf8ONZS6VXT5c4cy8cot3OjwZtF5Ba32Z91goS/ABCVy0bxx/coN3il2pSIuuVuL1oRHc6+bU5Ng11WuoTbu5rkVMc4QIM9xQtDnkto/j6J1ZEqdFT7I=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]AVMBC-Sunglasses-Balloons-Birthday-Decorations[fs]dp[fs]B0BBHBG96N[fs]ref=sr_1_217]]_Tue,-09-May-2023-10-49-25-GMT.pdf

   Hash (SHA256)
   f247d7e12029dbe25394ab3aac5188ca35e3d8a818aeaf362bc2b03dbcd58236

   Signature (PKCS#1v1.5)
evkjlxiezi6KLSySZmtBsPZCOi6o8Aaa5RxER7anddg5Ddy1xfuD7nlBf0amwc+rXwJmewGErMT83hd0xi1EfALsdrkUakrbKfjumhn8NvKvsJqV5Ij2jwgvP7lgZnJXYvcFONU9WJW1/gGsymJYnYxPoHTEeAQxrawe6EkrcvM=
                                                                                 Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                         Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 07 Jun 2023 03:45:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.118.122

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E50GNZfdiqqhFJRmIvMZ6P44g39DrdND39fqK10zNAgXoqjljpKJgZQy2MyiISXGlObhSRdNfcQSCCTwmO182lCD0vesm2esrGJvv1xfVgCAOHbS6rAhP5qIeIMyoSaKY/Rx6JqE+SeE9T7xTARERhbhVZ13cMbN1XaUlWZ+6yk/xAk/XYx
   +HulqgpZPwCSdMl21+6ukxeqWxUlSzUxSlvWTouqBeFoOGR14+vaUZwxGg9GSVyK2HHXOIXGN/QqNNlX2cPTa/gnGI0u7RZyee9voFHdWXUv6HJeEqceRytMbXXXD8JbBczdH7KgQg1Yt1Kk3YCc+eyHPJL6xDx/1rg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-07-Jun-2023-03-45-49-GMT.mhtml

   Hash (SHA256)
   1efa902ef3fa00f0a1ce592447d009e65380de2f5fc6e225f295d0a5d745196c

   Signature (PKCS#1v1.5)
DghwNdlKga6eLl+w9fLqm6CY3mQfXAU+5AV84rw6Tg7/UG1DdP800sKe3ggq/nnCDExqawNayUhQQ6ko3FzmdGl3kZAfEP2KLO3OLmdA3qmPWDS2qGa6ZGYtEX0LLg16djqJYE5QYM0DdwwgwAmf+euU65pAsy4yZVMpg
+lgG2+Q38jbL0Rs6ExK8RwFCSEcFFGy3TiAphBg87aMCiHak8sCXxvlSmUh7MVWd5qUxwubi9p1NjnihyahI7UoL7u8BWuk6OY1JSeHn9/Wl1njAKc4dlQVvrTJko1juSvS1BSNziayI2ax1ADwFOKjwaxlBRs95D4e8Ud73eDkQ6FeXg==
                                                                                 Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com | Women's Men's Smiley Face Slippers Retro Fuzzy Smile Slippers Winter Indoor Flat | Shoes

   URL
   https://www.amazon.com/VEZOG-Smiley-Slippers-Winter-Cushion/dp/B0B7KY882B/ref=sr_1_266

   Collection Date
   Tue, 09 May 2023 09:56:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   oAFBj/4pcOez3lKXAsoTJRaR9uoLzTmVkuWOTr3gna/F98LSxInYPkiJPBkfsTn6wbP5QFDcZjPmHicgt2LrrnDFk5s+/B/iaMou2m5asuoTKJ0q5PyxEMOTp5XWJDJvMejxW9slEEH0yevSvRQvovsM+eamjMynqAAg4wuca9M=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]VEZOG-Smiley-Slippers-Winter-Cushion[fs]dp[fs]B0B7KY882B[fs]ref=sr_1_266]]_Tue,-09-May-2023-09-56-48-GMT.pdf

   Hash (SHA256)
   5cccd4dd29ec16390ad3be86c1cad869e9117194720c74466a06eafb23c3b8ec

   Signature (PKCS#1v1.5)
sGi2Uacw1lpsLSWtpet1b84QUh9dKw7N0UgUGRjak2dX55838zNujgtsVAxa2y4Tl+Dzdi9vGGlyow8mQVffwqhHJ5vTuv/dr7xS8KeBKZqks0Pd5Yyqd4ZE9Scyw9NAAnkEv9ygn+QSpuW0gLtU1Qu21S/lUT0XExdOzUVssVY=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                            Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 06:51:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MN6Io2QrNZWOKXt7AD+ljrsCQ1i/kHZmfkSos5tUlBKli7eY7d3LiMjt116KJ/sdwaYPB2zPg2TWxRXpd3H8/k6NT47DMcvAi6NvWaMIt7qXFCBUL2TW6ChGyWK7OWysbnuDLtIVbXg/mRrQNQTFFFKf2M/H0mTRZ5+f+lcoaiwezsp+yKYMr6rf77kL4bV0/eGF38Dn7LO0LypS8n/
   aDtfeD0gVDbgI7Hz3r8au6y6KkEAdH9pHMwx8TuDZ0ErsGIXR+0iELaM4FvPLAyLoR9/fhEG/Q/kQC9ja7oAbhPFIZpIJk6gFnMbRDHxdBIvHWKYPz3rybCXGMdc3zuzEPw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-06-51-41-GMT.mhtml

   Hash (SHA256)
   d21d6b8cf36b0b43457c8e55f6eb38859e8482dff56a8c2a74472591b139a4f8

   Signature (PKCS#1v1.5)
iDNGq+Emk1QG0SsYpATskkq5dmv8QlpbdDNAarkXM+BbEqBA3WWHJX5KZOcUUVsEfcEoS4kIZea36NsrGaahXCJhLV2zjAHUUh9oT6bf3g75WCMcDSkWDR1NNWAiWxbYSJsgQHYm/TKPI04OWbmbcG5XiFuNkkkOVwfWG5oxo2cLx/2CASzcEa84bFmqKE6qHwuM17Wjli15/
gW30hG8XSLXvWowo/bvDh01Zb+alS93lPTHR6o0+/9fkjDYGdlS9FbYh/I5KgXasVwoeSpIPTj6lFo5rmruGXh1F4jElBGJNRjF8nS/Fc2TLtdzsWa7sEP7TcOSxPmUTi98AQ7qOQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 13:15:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lF9HSg4S1JL3LSV5a2jOlhjz9VtOOjZKuBWgEZKVKEMF5bNla4NomYOXh1yYeSuSLhAwfpnVc9kEl0PrCJLLltuPvScB1zt0X6T2ELXM5DW2Oj4pRFc7N9NzjlYVKr49Ty4wjCypjR4ZwpYY8CSbe86a4mpWecXEvaDpf4ybNYvXhGUw0LAMukAeDveTmDYOZZXLmP9Xkt2mjjd8W2QyPtOAz5ma
   KHf/4QfaN9cR6BjOUDeFCxpA9FLTkiWpBvdX9bZOcoBItn4EvN9KFza8D6faUjM+v9iw0T+10EsPl43Xtiy++oKWzDpGbaisa2yWli3Mv4K8qPUFEO9uSapBLQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-13-15-58-GMT.mhtml

   Hash (SHA256)
   f492853de8ab772b7b4f8f2fd4b84e8aa7a6dcacdc6e74339aebd55f2d1288ac

   Signature (PKCS#1v1.5)
CxOcoPZpUHDAjDZ4W+O9rrTgjzb7Og+Ak+fOH8gCkzHrRhdVofKQ606b9xCaCkR0Ys0d6pOfGBAxBAzIsxkJXlwo7z2X5MxjfIMwaSRR2/tm+71OAU2uHAh6CPZhww/
ram6CRVs6IS3VTR6VVnz0hB7pGrQBkmiDiaIyWBcfj9GnltDU7+c9iNbZt7wZsTwP890uQlWyRvO49n0EFR3b3hTSHvGO8dINK9X2MKEq6paGUZsqUqT7jacaleH3zxHZdUaZ4E1OfeioYsg83zjRJo/XSGxGIiqRkMBhR/h9+q5MPsfJGsGuMs1+7GEcxDcFtJhc7g9WgykbVx/vO7fcrQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: LISEVO (2in1 Smiley Face Case with Strap for iPhone 14 Pro 6.1 Inch Cute Aesthetic Smile Design Loopy Girly Women Cases Smiley Hand Strap Girls Handle Phone Case+Lanyard for iPhone 14 Pro : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0BGHXB7WR

   Collection Date
   Tue, 16 May 2023 05:24:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LOPXBEla2RiEYSSHp8gBb6UIKj9Y0N8CFzHZq2HiJj8tvzeYvh9oT8uDNJDRGVPoxLj/GJ/Gk90lvkU6YGKyIIFFc2RK1iiicJ4dzaK5BUmRdiLA6nkTnN9wsrXFVHlVg5ggy7b+6mpBbWMCBrLPI7mFR7vKylgMVE+XXi6ehpmKZxFaPlCpQdTRJ26pBovRUudqvJFnrmvgpYeV/cg/qvC/
   +qAFVRs5nc1pYg+QYqCjZ+smv3owcr3FI0cIiSDYgs/GZJTss0OY7QSjoKWeqZeEjrJFkgTafDJlfQLEjYqiWUnhtZDA8E5n6tsIgJ91QbBFBeWJ1R92CP1KgLqVBA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BGHXB7WR]]_Tue,-16-May-2023-05-24-26-GMT.mhtml

   Hash (SHA256)
   f45c025b08fabdfd0f4e617466fe916e98f5a31ab7eb77c67f54b319416afeab

   Signature (PKCS#1v1.5)
Zlwsqx8+H9Fm+djCIUUZuEwy+Au41oG2dVRGesCX3wMmx0SV91wjVoS+nSOXRyx6G2D6ZplPSTWin3HnLMmNUy80xYPTsvAOEDlYs8vX70xst7NcdrBG+c0YdQC32CNg+hrM9KlK9rsbMaWs+ch6G0QPkBCFttHjlQKB6dMumH+b/EfkTG3gf0NxBm/ZIz/
QhSqQWUKkA1YZtw0WFf2bY3c64KFKL1B7T+gfeQm3/sY7cWbzfbkwoJpRqeEJasAiHVSuj1KutU3j3difMxjW8nufc7aCPpTpsVssdudwf27oCOszqKdVk0ek3RNjVmV7PhDo80Pinw4hx1wciDvnwQ==
                                                                                  Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: LiTiu Inspirational Qutes Smiley Face Sunflower Flower Good Vibes Choose Happy Retro Groovy 70s Wall Art Poster Prints Decor,8”x10”Set Of 4, Preppy Artwork Teen Girls Gifts for Women, Decor For Girls Dorm Room: Posters & Prints

   URL
   https://www.amazon.com/LiTiu-Inspirational-Smiley-Sunflower-Artwork/dp/B0B8GSZXD6/ref=sr_1_116_sspa

   Collection Date
   Tue, 09 May 2023 09:29:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LO+3D8SDBiP3bx68TWKovoaMnsB5AarIp4/d83sRa00TY4WXYEwNBRYnQEAPXxNdHlD/STVWITPrFovVzSCkoekDZRUp/yO8H4ikvTCdTxo/aOfvrmsOw+hPNya5j7RwqLvypqU3l6P5jNchXzgJnn/dXrY/+SXdToLEIb3Xalo=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LiTiu-Inspirational-Smiley-Sunflower-Artwork[fs]dp[fs]B0B8GSZXD6[fs]ref=sr_1_116_sspa]]_Tue,-09-May-2023-09-29-59-GMT.pdf

   Hash (SHA256)
   721c8d9e195ec93324f2d8c329c4b43cd29284c88cb8eabf650b1209f5adfacd

   Signature (PKCS#1v1.5)
f5f5SckYqnakZjLH4xr+SDnDOycvVuexhe7i1pkv5PzzvI7d26R3nBXFqXfL2kVr0d0f4Jnj9+AzogbGuXuqIu2pgAOzjKDrWwp/RGA98RyrqoH/x75f6Phx8e15HNn3htfDSxWb8s3hwhXj/PXL49F26gr0euCqG7bKQMK72qw=
                                                                                 Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                       Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 17:06:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GA1svroQCIRlqw1ZNBIfoXFVR3q+TV/cAO1pKZWJKGgHcnp/gykOdCuPnIyZ5woFdqnjeYcux7hRuL3/ViNZ4cpY6beKlkvwCwOVEY4KqaaT1cuFA5OzCq67hFxLgqIgRru2auIq+QvxzD41NyrJIHyfHmzcbgWZNfMcPyi7q5rODb/
   NLMUhkryMfThQPW7M99gAjGNMV625Ie1iiMijILNJTG5N2L4sIJSOREclA+jj/SY2pXI1W4WoOmBgLRK1vtSiMsiGFGLZIfa1CGZiGyG4mnqekK6s8n8EXmMgOfoDgRcrcqm5x7uP2qQAG2OUoheEokV4n2CyxJEjjamI7g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-17-06-11-GMT.mhtml

   Hash (SHA256)
   bca82b6ca502be8839f1b312a45832f348e67e524d3fcc580959797327c700c8

   Signature (PKCS#1v1.5)
L5n5sZNvHEul6sXo9WpHledfmhDpD1oFDWlpYNrPXOyXO79mnJKHC+un+1dVgPVLDthUu15Fi1Tp4HrDSLekFHBg9NdtEW2auor+/VxsytMhpvkuc7FQAlZl3FmfNZHTmXuwTFvedPDo3MW9d+1FYvQ9g+hF21QPCCuq2B6jTnNngbgAaZTRUSiDQUaEL5KGK2rwZeCmdHgnQt5Y3/
U1J0mVQoDPQqfxOrgBLXVSzPzqgsvEwS5VJH4bUT+6yl9Crga+3skimsXCCM4KRV1BNI0dLpgjyfgK75zGjm72xMx5OF+x6FjsAq+mmF3KYfEOrf3dynN4HEwX1zDdFd0YQQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: for iPhone 13 Pro Max Case Funny Cute Smiley Bracelet Phone Cases for Apple 13promax Cover Women Thick Border Plating Buttons Soft Shell Wrist Strap Clear : Cell Phones & Accessories

   URL
   https://www.amazon.com/iPhone-13-Pro-Max-Bracelet/dp/B0BRZHMRZB/ref=sr_1_123

   Collection Date
   Mon, 24 Apr 2023 11:01:00 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OS4+r1G4HkIO7aofQkGYprWAp495kftm5w3bloCmxpN5OPXnw0SCUdGs70KNnEdrWa0P6on4Up4xzy3EoT5JdJsLOkDLEf0z7eje/WLY1dvsA69GtrXwKasQV8yExbG1tt3DIy16GuFFsjc0UGyGMDz7c9DaLAxr8cJhyPG+3pU=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]iPhone-13-Pro-Max-Bracelet[fs]dp[fs]B0BRZHMRZB[fs]ref=sr_1_123]]_Mon,-24-Apr-2023-11-01-00-GMT.pdf

   Hash (SHA256)
   cc6e897f13216a93377138626367ad4d81550df21e05e39fce130eb2d26ce3ae

   Signature (PKCS#1v1.5)
RGTEW9LHm9z5PnRIw90K6HWJDbJrgv7WbM8mtCyph2/5jF+t/PAySU6M+oCn0aVhBiUweOt2dSgaqdmrYdT8NjRS33u0JLPNa2OjCuCI4+fzXTKN4S1Am5iV2S/miQOB9RGYvoSlYu2ON3SGvAdJgismCLkEcDL8g/ak44Z4nDE=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 14:24:28 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   P13aplrHc7afMyNClT+tTI0EHJ431lIVXXui6zyWuGFx0BxJMqi+D9kU77SNSE0G0qShxtG0gkmpuNh9ZA7+MPW68c3UE868EVQlM94VMxiYcf0ykGU68E2QGk
   +8sKYzNGI0ggd5LmiXoKj6BUkOyCI8rr/2mxhoGB1m8LAqVReIUJGmJ0f16sQ7IPlg5xHYzotMT3mP0pxPmMt3jzNZGeBLtZqSERpnmPKIQmo7MC33mbRXPdwO3RkoQwxqEje6NeoADlUvquD/m24uVWH8+jbjarFIDhahwjlG+ASBONgl9caOcUCcxY+ehlwm2Wz3QPaUYcqgZfzWAbGG/
   A4LWw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-14-24-28-GMT.mhtml

   Hash (SHA256)
   58cb9cb99e31a65917d78d8accd0dab86b069f082c9b10f0cb50e7e035de203f

   Signature (PKCS#1v1.5)
OWjFVoz88pt09iT/QkSC+0IGcZ+JZXjnfp8hAq2V0hpKPhragPhnddSiZ+YWvcFt5OsuXfPHcyqf8/ipsImsteBH3hZIFUE61B7uTlahTATSFGGQNwSNqwpKU3745EEELAwpG6Nf8Bby+0rKiizRvd2y4SHW9r0kTkqnNiEVle4rPQyMRVCaGQIPElVZJTNHvcBYnQjPnwJEip1zC
+a0CexXLwSo7v4Mew21ipskfxId0p6aThsCuuU98oxRX+u+2jrYu4XJSj6/dn1mKHRKA10z0QxIaczwW69sxvghalyELu3SWZQqGhBB9480gE17vMcvrrKtb79jJUvZKliHTQ==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Girls Womens Casual Socks Womens Grils 10 Pairs Cute Smiley Socks Funny Ankle Socks Novelty Sox Good Looking (Color : E, Size : One Size) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Womens-Casual-Smiley-Novelty-Looking/dp/B0BPQPT9FK/ref=sr_1_201

   Collection Date
   Fri, 21 Apr 2023 09:27:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DdIiWnLBuHJ67HsvVSpjvmoWOn7o/OkewKx6vx1uQASCaJkAlF5dFurHcS7aee3cH56fBhqbFyAnr32eX/iBsuqQPpp7uXwIsFFctXNZzRaqkX/QJtaWbqos1cNTx7GLTWeOWQYBRPK/xxMyvs/yx3vZTYnLYjHkvXUHZw051n8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Womens-Casual-Smiley-Novelty-Looking[fs]dp[fs]B0BPQPT9FK[fs]ref=sr_1_201]]_Fri,-21-Apr-2023-09-27-09-GMT.pdf

   Hash (SHA256)
   4c87f8dec9c922f18b4e9cc4b3a5a77ea4b0739398a246daa632297a6ce67cac

   Signature (PKCS#1v1.5)
pp537cBPzQcsfLgKpPymCy7BDqx5jK7WT0/SECjutrItFwqfbb33lhdo2ZypM42HUVspwS5Ph4yDCHp+Udh+cHutoWKMB29/u2fjhzUKtdnqn/SlyzrvZsobcnHAWuWcRcI6Aub3Rk+Hs3IZtwnCW8JEqmmo8N2CUnhh3NzLGbA=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 14:36:08 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fpvrybU98uTAaHJ4KGoH/IhwL4s2ih3nHxAgJCX4WuGgD+18bfJMAwf653BbqmyZo0P8ya6hxFQqUql7nqSExhxUsFGngjbT/
   a8fe2Y0c7vXrtRCiRnpncDIAtTj9pbn4DY0yifQ5uAtTBZqxWyg9ROd4AiZef9zlgwTOHT3rc5UEMHG1cGflLD/1YTdXU6uWdaVSV3D7K3W1a38jHR573LkHjXaH8OO1N2pfneBl68v5E0xjrjQmMpaGZ0WRW8bnhEGDVUMDGT7E0zxhHQvVvg7NBYOMlft46iAy6rDSLvCPRR2ELp8ss30YsUwpB
   Bs3sHQrKygzHjcIykunnOnOQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-14-36-08-GMT.mhtml

   Hash (SHA256)
   4c765a60dabf7e56fd8bd66566f171a03a8eeb21fd8eb2de55c60780fe8e3b8c

   Signature (PKCS#1v1.5)
HWv2PtRRZ7rW7kDN8EU/NLbu/RYNSbhYXX/riat2C+S3I1SzKsN5F2fnAA0reRF5tFdrr8KZ7gpaB09ntKqCJkc9abL1O00z8ywiFrCenfgYGmNSbTDidW+xOBzo/SxMgNQ6ZofWXxIlHenwKRR3RGo3BObDgZAs
+LYEg5mHtoa9XfiD2HO/1ozHFkE9RxVCPT8Zk4Ba9131DC1oNKUYTczBVpfnvCSxMeETokod+nyJCDcK3TAy+9tl1bs50/J1lWl5vSTAumKeCoF5VAj2Nnd8itV7RZq8jdYD05PHJj3YwWDnBAJXhAMhms6MN1XRheTA63VYyKizoKo5OMZoDg==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                  Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: dark swan Pink Smiley Face Tapestry Cute Aesthetic Preppy Room Decor Teen Girls College Dorm Decor (60" x 50", Pink Smiley Face) : Home & Kitchen

   URL
   https://www.amazon.com/Smiley-Tapestry-Aesthetic-Preppy-College/dp/B09QPVCWSF/ref=sr_1_75

   Collection Date
   Tue, 09 May 2023 08:53:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Kcbphhw7UCgNzg8Q/x+11xy+4qhEpX1zito+IDYoAKo2hIP5fQv4MTal9NAW+KtPqdRndNQVd+vA1VkpR+OEi/gaaP4PmxnrDXmmv1EPrsyyNjKJnTbMOFQnCNl9GwJSuIlluX74it+2hwBSd31uu9a8y6m7Q5Nz0fnve80EYTE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Smiley-Tapestry-Aesthetic-Preppy-College[fs]dp[fs]B09QPVCWSF[fs]ref=sr_1_75]]_Tue,-09-May-2023-08-53-41-GMT.pdf

   Hash (SHA256)
   ca9d3127d432d9284c2737b6df51fe259ba6611c5ca8b16874fc54e6a5cf6a6a

   Signature (PKCS#1v1.5)
ELVzoC/mRr50acCRZi2MwMedar295WhM9arqaNhRl5Wtf4EDG09TupcXT/faZ2tkZux2K+q/65DdGQCeNyyThE5hhHedRCNjX1gK3V1xbmrUwyptf4Up2y+dTINZuycHcHPjN3y+H1yVl8W1vA8qZ+oyJWoS9hS2UzoMy9IvWcQ=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                                Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 13:59:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   m77vLHoluhBxfGjU2OmHg8QroY0hWdfOCiI19tHkB4eZNlOcHDIoLg6tt5FIhWTPEdk1tQd13yaaJqgopBcLZr+znhacc381DeO7fctaVBnGPS9/qqe88dl/Or4Kx+Vwlt3gi2rdCSlKPUznMZQajrFQ+XmubtPtHIgQATos+x6Ir8/5Ufhz8WSS3/
   Cd2MhOvUnweD2hYx4fmqmKfOeIRxknxRdjY0cg65hZzh+vjbzxFJhgsKE9g+okhKmpbzqG24M3HFiZyw2A/hSmDYfqrI3QyACOYJpoJARL8nFa/hBtfEzmlqUS6XvulIEj3fSY+LmM7y6Md7sAuoLMAP1ogA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-13-59-29-GMT.mhtml

   Hash (SHA256)
   bcb927cf51728da357e74f30f0df9b53ad0077e45cc21731f216293f44d5a333

   Signature (PKCS#1v1.5)
DIGfqlAWx+CkncnFKu747rm2jo4hQGvHs52QMeeRyx1FbOg+/nbFjesuaU2BKsjcMEQ9m71QywQfXYPks/pWa/pCDfThgMl31k2+TX9pdi6TQW77iQ7rkoBXfkiOdVlMZRqFBBrbqnrVcWNXp1kdOygTa33ONcjFpG9GU2tvrZQb4195Hi5A
+IeCrrbOXOZaggSuvSAB7wv0fuu7QbbDqlJXEBwIJssRDscw+8P/0oRcqGb/HQ9Ag+Egc0o3leKrbn/1umaYtd4G3FFvbkBBGrJRAyV/F/TxJwSn7zuyaHFJfhpYnvepIrfwpS7Jb8n1uHN3RPGgsqiJzK91kHZZsA==
                                                                                 Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                                                         Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: Sunflower Flower Plush Pillow Smiling Face Sunflower Pillow Colorful Plush Pillow Reading Cushion Pillow Sofa Decoration Pillows Smiley Face Throw Pillows for Bed Home (16.5in, Blue) : Home & Kitchen

   URL
   https://www.amazon.com/Sunflower-Smiling-Colorful-Reading-Decoration/dp/B0BVMBVBB2/ref=sr_1_167

   Collection Date
   Tue, 09 May 2023 09:36:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   f1qqgUm20D4JeoLu0Fg3cPnjT5n2ovuRC1eXKMoAWK7TOdzbxL0RyQ/ohEWX+CynGt237DLriUnCsjksBSju+PJNWghHi0bKiNisodxw+lIWE92ItaNr1IbywYLHuC7nk04SVTChpak4u20hm5sgb09APxoQiurobkFR8zDHpCg=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Sunflower-Smiling-Colorful-Reading-Decoration[fs]dp[fs]B0BVMBVBB2[fs]ref=sr_1_167]]_Tue,-09-May-2023-09-36-29-GMT.pdf

   Hash (SHA256)
   14cb8e8f369fd21af49958ddd0ab8c73546206cd5f73830cc12e38bd7b3f0a9e

   Signature (PKCS#1v1.5)
iY/6K3QGfmc6dB1MEG9JO69KR+ACG2ueB/R28pWGkyzAWKwAbG7heqxZeDHIT+mrUsspNdPBnYMTJghkukZK49QlChNf81WuHy07YdKCrN6d0fSaRJeAdIdrHurqiMvrryLIk94YvVzCetYKrZKDFMkGx0n7ZQKOx4lLzI3s0J8=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 13 May 2023 18:13:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   2001:ac8:9a:1e::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pXVQJTlp1hMcSjSGBNUtXHDVjR9Zm8i1mklvZUsJUMmM4f9rj5dVPBn2LcbGlbhwOx8b3P3WDVzPo7tzyZXLspFMjG06bTfdhRfnFEHK0diR2wrvIJbbltAJzGlPqghAL9Yq2TaZ8nuhLCIyEsyX84UcpRnlnQjFtNjzAjZ0Z16x1aQKgZ0d7MDzAQYz4YiabYbRWRmfEGfWXwoX/qFUlYevUYsV9/
   FTCJ3TLz+uIoYvu1uokbUjGeXAu0C05hTSWN/WoDElh34t2Vg92tmRFBm5WFnBXkCUbT9lGpmly1CRmz/Mg3X1XGqLHG28UbOKoZnWNMQp0rkbRH1Teps8Uw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-13-May-2023-18-13-37-GMT.mhtml

   Hash (SHA256)
   2e44b8b4bc98b1e12d92c0fb12f61e091b0f9c3c7a8f4e56bbe182bc58443ccd

   Signature (PKCS#1v1.5)
joTDlU3f9m3j0wueGOYf9+THtb/4WVh+nS79w/uIpftyfKGIa+ObbGmWpFKOa1M/KbkcM0PN/gQGX9U0KuKFGzPvuXksPS2gwx5TZM1nXlSZkBQv8y9D5CdGc2dTbexhimjyOQECYfP6ihbTVGHnwjMv6/
xpZbwfYqyhKZATp43CdzdItQNaPFlI9j9SQllnsCDtKdxch0UoVPQXw4Y9pUF9z7n0Czy3CGh3rVlo9xlgTv0W+a/JtWVl2c0vsQrFDKNM7Yuq8XuHlKfVhpl8x6vnzgVTscY8AuCxBxB5LaITbQIUoQnXdkgU3Mo44zj1maCOwYxcrV6g4nAlA7Z9lQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: AAOTE Makeup Bag Makeup Bag Corduroy Polka Dot Makeup Bag Smiley Face Storage Washroom Wallet Makeup Pouch : Beauty & Personal Care

   URL
   https://www.amazon.com/AAOTE-Makeup-Corduroy-Storage-Washroom/dp/B0BXKW7NDV/ref=sr_1_175

   Collection Date
   Fri, 21 Apr 2023 07:42:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   rD4TtLgqsWAPmrTPduapaHaJM/G4NXpcorfb6h0Yqj7MA+31LZjuBbbTyclq2dKGtpmuU6/4SgQmTdcBh6kSuz5DFSyaCkjmDZ7Hv/tN5z8If4nyuRmUAFj11OvTJeUe/BKP3m+gqSo+LdWeZl5OmVAucnLetD4WBufQCaJILdI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]AAOTE-Makeup-Corduroy-Storage-Washroom[fs]dp[fs]B0BXKW7NDV[fs]ref=sr_1_175]]_Fri,-21-Apr-2023-07-42-48-GMT.pdf

   Hash (SHA256)
   30dfbd63ee93192c4ce817ff3431ccc2ad563578530710ccc0e8782788c2d4bf

   Signature (PKCS#1v1.5)
eaqd8aPrkhA3YvDBMxb5GaMXMbwYwIbHCuTld66gG+4XROLujBDd3DmC0rEJkgpiYLRXeJ6Xo7TmPRgd8mM1fqOGQDytOxxIp2pHl3XGNjo1Q4rB5qsTS2fCznny/prgP5aP6P7/wrmjK4e0l7v9dGkMajscqhh87afgIaADYN0=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                        Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 08:33:29 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Y8J5VZcO1qsChxB/Wv2GBPBlnLAO6czXk3yZanOO5xWjz5FSveeE+/RH8+mDRmm0Rexi4fw278ZjooFjN4CS9iBAC26ebFGkPo85Da3xmCIktkEoRw4tHDvtmg6tKHwa3i+suP/jqNHqrqGy+QHVaKGwglKSIxgr8SBv0mbZ8+0mZ2hwAS93sF9dFv4fJfM70q
   +i8g0lW2NYAzVrLsMPCUVluAvNxBt2pFKxPcFoaNUb4Wvu9Ka/0icirEuZnqDmvAntS+CgJygSubqfjH9UNeUjeQpENBhhMi0vIhfhROgorBYpBktoD1ZhECI1AIU+dPcwQ2wKNY5xwWW2lGkRqQ==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-08-33-29-GMT.mhtml

   Hash (SHA256)
   7d252fbead2b502fdffcb8c1a0937a2d51a7ee185dfeb8d6a9f4ea9f84ecdbbc

   Signature (PKCS#1v1.5)
RVVN1ECKXcl7lNWLtW4QkVz0kZKVT4H2pXIZJHjFMg7tCpHpoa2R2WCzH3vRkS+ZG0foe5VSx6a/4wOMRY3jFnO64jSCMh/bDi4ptuPQG2sUxNnOH86buLfYO7/31gjfG/59Urgl5JFp5Z3KKW0Jlk7hTXkgQEpIVkY0nG/
AcR7JIT5LgGsawBGFVVt1QFjx2lhN8O4neMi2eoafOCYEcwYtE1ZIJMtrdankieG+cODrf/G2FpGDCc1XDrMoB/2KuaZ4IylMgLyEZnoAbeYrfCYehGQReNQEp54+Psd49Ti4qYdr6K6dwNlhy5Bvw5U2aDsWMplNgp8PTvYPiq9UkA==
                                                                                  Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: KAGITO Sterling Silver Smiley Rings, Hen And Girl Party Adjustable Jewelry: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/KAGITO-Sterling-Silver-Adjustable-Jewelry/dp/B0C2V1R6P6/ref=sr_1_2

   Collection Date
   Thu, 20 Apr 2023 06:00:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   MHFKuPxg6MR2ge3mhnCoF4OmhntpqGHBzvvyjYSOl3ZmT+cCzT3jVef8loz/nA5Uc9WsDaESKt2tGNQDGeIKWxEQDEaChUwq1GNRdDDJYQM2OFC4RS46uu1V0ty+8PmZvSl7TQYl745EFTi36FgOt2VikwN0mbYTfu8JPM6L64g=




                                                                                                          File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]KAGITO-Sterling-Silver-Adjustable-Jewelry[fs]dp[fs]B0C2V1R6P6[fs]ref=sr_1_2]]_Thu,-20-Apr-2023-06-00-19-GMT.pdf

   Hash (SHA256)
   e68da1806fd205c9555a5d2e82269daabd996d3df507974ed3e425867b76d198

   Signature (PKCS#1v1.5)
Yilz9Y4zUYtL2LFRTapnYu10oCD22QeI7oV6oOtmg6iwJlGpNMVS6KpB+zC4qLqpOfV7c0Qf7spx0UGZs9Xx2LmAJ+hRy4wKeVfKr9hTmC3Vu9t8oa2jYJARZseFOQKEfn2J/Nlyj8Do9d/NjcQOFtdOgkD+/aBGMADjGjegTFk=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 05:41:33 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PEpQjIPqm1FhOPuT5RT/UdWVefinI+Xu3qtIDnIpZTHmTZCQrMf44rcmSQ5uA4O5L4uo5aIpbFc8roKXOqYfy17OWIWhd7tWTQtV2Nit2nQR2pWRV37642S6yKRwKA5PfvmvC1XPnh6ZmTPqYzfM0q6g71iT2YnN
   +AqZmqj30o7bG1PuRByCyDV2EzpHApJZx5BWd7coMsTLw16ntvdvx0PyR0HzCmDWgFQVyMuFmtCK6sJPvJ6RsyNuUqLA4NCXKaofgZY3Z+Q3+zydjrT6dqu+W1BA7i0NPDXmiXMkAL7K7odix3g+2gTqGJbolrBObkPgtkqbyg8kN5Dc51EqYg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-05-41-33-GMT.mhtml

   Hash (SHA256)
   1201ac96fe269cd9fe93155cff6589fcb085cb6b85254c273049ac20135ddca0

   Signature (PKCS#1v1.5)
VEu/eJX7syi2wOYQWPyes50kanZGZCL7BYz31x3ehYySgVJT5fwdscGD63m5Uq1mLN/0lCRZbtItmTF6pXZyMeforoQlDLHlwY2HNPShXCnp9b88FwhJeDX6TmU15kXgW/
wmQsMgvkpdiHCTHhBcEuVomW8V3aM6S2pdNy2fw0G512hGpcUiASOjV8dwXUpO8ivEhU3xDcNmlQPkprmmYs6rFKkXNVEXjSljzw84Sft4aVCNaqw6RGIGSWFjgD4++7viE3ieQnWsNuAZFXwrSPx0bo4QJFjKic/WO9Ir2poSSRLFwH4lLLUnQ9aphWPC7ZVVhRay6sYcDyjiPIWWNw==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LANWE Womens Ankle Socks, 5 Pairs of Smiley face Socks, All-Match Sports Student Socks-White,Athletic Socks Crew, One Size : Everything Else

   URL
   https://www.amazon.com/LANWE-All-Match-Student-Socks-White-Athletic/dp/B09HSG5XBF/ref=sr_1_58

   Collection Date
   Fri, 21 Apr 2023 08:19:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KbmfQefPvGizDS1144mQlYJUUhIN+dgWvH/5ddotJ6o0oPiJwbVYKnyDV29SbXSCWV+MUhT+VJAgNmMoGm/5yzmBtJI663mVmtsmuehkpfoS9SSfRKNuflz96P1JX7KGgtp172wTJZ/gjrKCh+9lrvKqy6uy8cVBgphUcMsU2aI=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LANWE-All-Match-Student-Socks-White-Athletic[fs]dp[fs]B09HSG5XBF[fs]ref=sr_1_58]]_Fri,-21-Apr-2023-08-19-58-GMT.pdf

   Hash (SHA256)
   23a015de806af422cca1ee34c2dd70369ee133770446e9f8bb1acacbb53493f7

   Signature (PKCS#1v1.5)
mHP3W1VfNFZNS9Bj1AZpn2FfGpQFtmx6BEzyKp0pPbi1w/01Jtb8uo7uSvRYOBqMi0A06xBX6AS2G4cY/IarV5Yd6h/uz9+/pvW9lGpTUfXIyupTd3Kso3XAj0zfqk7pnAgCBDX+vsEQE7pN4ZScYHF2zi9psZYlY8//XpHVyx8=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 06:26:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   LXm9HbTN4mXXNcpZKHpNDjnb7qgMMtM3YcSdvsPLi7JxdimjiecFdO9TRh074ST3G9ZYcGwNGYKNTUL8AeNThhU6zsT9z1N1v2VDpMwajjU7zmngIdF5DOXtB1fLa7Vb9n9oVlZuyiCPKG7+zsHe490z4XEZ5vV4ixBOAnksQKK1rAuHlhxt2viSHuIBWkI2sigC5x4NDt8yvJZwRg1xK5JqO
   EO9YW8hC36gaBw0MUN0WoS0lAD6ZocCto6S6NXGo+GQactgYcEGr5G5AOgsMvlxSLZ9K1PztzarhJT0oRqCMyszw3i3vz+bVP1mU82vTWh307lwUut0V4WqvkWaAw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-06-26-48-GMT.mhtml

   Hash (SHA256)
   d338a22f16dc7cf24737be8b09895581fc9e5f7c694aceddedcd93a80ad219ad

   Signature (PKCS#1v1.5)
Xz3K9m2063+jhBxmXWv9QoF3Z3lVYRCejLQsIJViXlFHz7iTZnmT9XFYOm/daDTmFS5e3rU0ZC1JTjLBYGWr9BuxZw3c6mXHKWtd7DrO/J+vXakORdKAc9MspltYEfLQR7SfhJ2bFegPFFjL5e5CB78k4PSDt6Oh498RwJLd3gA16QviYRhCDIZdK3V4CS2GMxsJnz4C2xGKCdJgT/
lWfuniCAEn6QyvS8a43bsEfAnfgBUd0Qm58yj+L0bvlowx36Ws69Z0wGzK4VkTlersedSQhploL64jaPbLPVw4vPW7KjWIoJqLapKtdgpnQf71Ys7tHZTGI7oi7Qn6kg69Ng==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: ROXVEL 5 Pairs Smiley Face Socks,Cartoon Smiley Face Socks, Coral Velvet Winter Autumn Thermal Socks Ankle Sock for Women : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/ROXVEL-Smiley-Cartoon-Velvet-Thermal/dp/B0BN4D4BXF/ref=sr_1_79

   Collection Date
   Fri, 21 Apr 2023 09:59:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lf4ost9+OV+PbrRLmsrbeOGvPmXerKFNDQBbWJbT0BKkcZTwf5qCXuFeJ4gmx61sVXKXYIUjidvpGtEr+3nZ8Z9YSC11LvIFfxUMB9BPgZDICZAFc1wvx8rmKOWKZFUmuskHgVdAe0mdKIxm+JsRHjd9h3NNQu3iK5w5EZ5zF6k=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]ROXVEL-Smiley-Cartoon-Velvet-Thermal[fs]dp[fs]B0BN4D4BXF[fs]ref=sr_1_79]]_Fri,-21-Apr-2023-09-59-44-GMT.pdf

   Hash (SHA256)
   1cdd77032a85e39950e0457f23f461bad8e97108ab2ceac1b6d3e7f7a5a33d54

   Signature (PKCS#1v1.5)
I5SPHCF3ZaUkQMnwtYRpsDbYBCMXFNrm6ZHMADNZKtk5lU5BHu9IQmksh9CY8AyiErcM5vGXtUBfzY15urReDJUAFPex3Uyy/JEu82RlVN8zBSm8WhyxrBhy1cp/192JUKoFqhqkssEVy5Jkm8BwjOTpVnwBeTBIeFU0ElJhzvY=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                     Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 24 May 2023 06:22:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.80.105

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Usxb2TKVktVHaKARVlc9Y8FXaZsLJewDUixBsroMRVf6ZmVnjADp+JbpyLYRgFMT/2ET4g52iHF3A8RRY+0ETEdjdbmsu9qLOhpNtDSgNs7cC1Bg/H4JSWCU3jTKDFlwk16yk0R1d2heY91C6+oOYL2vu
   +Lkz08z0Hz9exBOuK85LFQ5Uizff7vxxEwsVS0bJYfhPVhS2kLGC4f8AjrdjyjiencAIlBHmNnqOhK7/CWzqzhJPGzG1HbViaVXI8retVNdPtM/+/z2qJ5q7oY0HZGgghkxH/jYgQENvI8EjVEHaL0ipRbZeS8Ujx75v+pdmS+rx78ZI6Cff/2bc759EA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-24-May-2023-06-22-10-GMT.mhtml

   Hash (SHA256)
   aa657aac3c35604eaae3cceb6ccefcd6529bc86db4723bad160cdb85ca159f16

   Signature (PKCS#1v1.5)
gJFAs9Bc+iL1BFK5A49HunMbCh0bTeac6dZzbyXGjz6WRGhDx9mZYWesa0FzqI8IJJ1Z8TM8BHY9jfZ4apAf99j8ldiJbVEQLjLyAXtNHMGKvV6bz3hgd7aggZrh5KlPQElpQdfn9g8t+sd7IlkiI8Nrv4UMRd5RI2P5q/
nRkyrZwcP0H3VIm0zGPLzXrwNZ8VWvERadBotFIBc/1yz93xb2UllpyWc0p3cggnSeza/8AOJKa35ptttCpAyrGH1Zf8sWxMJ4IQZGzcATc0/na4nctMS8n5+0pwlq9WwCLgk6UAhBq+2qCF8qBUfzVGZ8TEc57B7EyKmWZ+qfqkJn1Q==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 25 of 40



                                                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LMING iPhone 13 Square Protective Case for Women,Luxury Gold Plating Square Edge Phone Case with Smile Face Design Smiley Electroplated TPU Cover [Camera Protection + Shockproof Corners Bumper] - Blue : Cell Phones & Accessories

   URL
   https://www.amazon.com/iPhone-13-Protective-Electroplated-Protection/dp/B09JF4LXGN/ref=sr_1_210

   Collection Date
   Mon, 24 Apr 2023 11:46:10 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OOb1UZNUw0EZHyZ59d3k52PKckPtdWrweECZtRGhjgo/rsSXAvUUjpXB2kIyv013GY0Tm6CoXjna2S3XdV9l7T4ombEspgyVqJ8I2TMLj7z23b2K5KENinN/JX+YMLnj8taU0RBRpZcUYuns/HDFoSmxEhcwHmmOS+nOPEi6CLE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]iPhone-13-Protective-Electroplated-Protection[fs]dp[fs]B09JF4LXGN[fs]ref=sr_1_210]]_Mon,-24-Apr-2023-11-46-10-GMT.pdf

   Hash (SHA256)
   01e194e7b76a5f32299976c7c14c8c89ddcd0c707f616e51814b13046827025d

   Signature (PKCS#1v1.5)
h98i+b5cSEgLtyK0XoncpyaFJzzlCQsYCe3zloYw82Aa9NWuTSgjipsFjXeq+HXsSj0coE3a1z6A0y9OTAJiCThqx3zC4+uaWUOOEbatZx0u/eJRTWGWoNlW4SqMrCyg2vRHAL2RrnqWvy8P6LY0jPROUvLTBDw3TAmBM7EEgio=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                        Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 16 May 2023 01:20:13 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   202.83.57.61

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VRjSSqc3IYvu4TVgZgECC2/xbunhIMe6aYQ4wJVzvhTPvJpyDJ0leAdEq+KokUNztmn5ZxpbhG7/HXvbWnELkJ6FKI+lQ/jlJuAIFaFhupo8CgvT79wHuqhSxlVto8dA429UFuzo8vCHmffxOmxKlr0L49L1xEm6SUgzaLp
   +S0bZrb3AiTvjy9UPAgjnMbd9WOY1XsV6Ni3aB7ZmGc97G2nwiPyNETG4RXYSPeKP1cUDGwqProeEjvgbeCBfEmXDzymelljWLiCWKxo0gDOgdC5MKFFtcUpJKsfKzAvA6b7lsIvWHcQKq+a7yds1yV6lWeILXagZsO86deiFGpV5nA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-16-May-2023-01-20-13-GMT.mhtml

   Hash (SHA256)
   09f5353553602aa45520ca9c3bdac9fcad47641c5a9b671b8882a9a04d597374

   Signature (PKCS#1v1.5)
eskFiEO79hPSknQYfrIkIYPCW1lbyBC+Z022jBCB1VFYRO+cNR6DScn/5dIVcAmSuy83NrVqV0wverR60omGJToFIZ85K71asVx/pCBXKu5IeszyZlzbRX1LvCmf/yNrjnuNMUajRtPxGYZFU9Dy9e069kLSAzLPpJ2NKWiHdG57g3NSXoDJG
+waBLQgqpn27DhRQn8UUd9qHkpbQ99yWA6uR4oDM5b+zrPMOi2meYnUxk1U80D1y/DB3vn6bO2fr4vYl/tLCUn8D+YCIgiJkhEeLToEfbTpabhtH9QPooUsWGe8s5djTatGtwm9dtqQsPkKd4NQztqEl6r8CpwRgA==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Logoer Phone Case Hot Pink Melted Smiley Face Psychedelic Pattern Compatible with iiPhone 12 Pro Max Shockproof Soft TPU Silicone Protective Cover iPhone : Cell Phones & Accessories

   URL
   https://www.amazon.com/Logoer-Psychedelic-Compatible-Shockproof-Protective/dp/B09H5F1QYR/ref=sr_1_34

   Collection Date
   Mon, 24 Apr 2023 08:27:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YdH+6lq3uHq+IkMjp7QUXBtQwvqyFBKzYxVepkEsRiKrLhSRFDUXDSesFQME1bwE+thLcostB0Y9uTNu1zwvzDWtY4KArcU4qF9Z3GfAXzvt5wZ7IZvnj5RWiIz0jNKnCLg/aNVjBknytA78JRZzISoEGNKVkU+l4pt78GilVHU=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Logoer-Psychedelic-Compatible-Shockproof-Protective[fs]dp[fs]B09H5F1QYR[fs]ref=sr_1_34]]_Mon,-24-Apr-2023-08-27-22-GMT.pdf

   Hash (SHA256)
   7b93f6061f676e0885158c50fffd4ba61836b5794f44ece819d742d55b1897f9

   Signature (PKCS#1v1.5)
LSgzUHM2xfUWE61D6sYfYgEx1FMGv4mATeFCvPefYBxt1RyX71zhlN7GkdIKyRLsrEieMS/kXda1i1+jqC9CMnzTi2f16btpBOCmFBKo2DVcDw6Qq1I13OpiAo5/hyl780TTTrvcIRr+vbvAnUpsrHCxKjliq6C7ITvotNnsyQU=
                                                                                 Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 23:06:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Vhr6NY1iGjYvFJp05mu5w2GRpsjsPClEPZ/JxlMaPphNRc3hwt7y7tI8I6Qemi+H54aWkpxD2xfkHZn2ugEUPK+bgbxK72sAiFtKBo29C7MLfZ/D6yRitV45qNU734WF
   +H1kVbiWkGYv6eMc0UlGDCTKMinmLg9sSs4zOnKsfyzf6psXt0FHAxXcnlzUfYRyyMwiImTdYnrW3JPbeTomES2btLWndBnKodk3s0G0KJrCrkHua3qpS6b4U32Mb4bQw3aM7njGi2XPcyExS9tPYVprFMus3HV+16iDTsL11N5bWJuI32qEuazOafyuhfQJ4ANRp3a8Q33hdPjd4gxZkA==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-23-06-42-GMT.mhtml

   Hash (SHA256)
   523e39ffea7b4fac13869f57efc3a3fef83482cedb53357b225b66a5ca98e40f

   Signature (PKCS#1v1.5)
f7juAX6PsjNu/de/gdRlPbnt5pGizRvWh4NBYHsnDFV+p9WWfUB32JDDdj/RpAP+Dv8OCc34WsG+acCwsLaVo7/S9T0xitZFCV5aeWIlrHfCETCbS9xn7Rjx7DboR/Qt/V5urFJjKaZoqIW4S+2weN/saJul1Kv5GMF5NyL3tNHsmbPfZA+s9TuS/
tkBJP9MfxFpb4NCSHhojljrcgtdxOUwDRoTT1Kl9yuGqTsitsi+MbCejaNgzNxKQsph39lNpBF6i8gIrrl6WrQwUqRfkk03RHKonRxRK2RKx1adBoL6xdBrPQpajBW6/u74xdcr7Np5YULSQtDwaZZWNmLTPQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 29 of 40



                                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 100 Pcs Smiley Face Polymer Clay Beads, Assorted Happy Face Beads, Rainbow Happy Face Slice Beads for DIY Hair Clip Necklace Bracelet Jewelry Earring Handmade Craft Making (Smile face)

   URL
   https://www.amazon.com/LOPURO-Assorted-Necklace-Bracelet-Handmade/dp/B097MTCY83/ref=sr_1_120

   Collection Date
   Wed, 14 Jun 2023 11:39:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   JgHlFwWNCH4Jy+xWQt73r9KxDc6snBDV3EQmtJ38mYfTYoM8qSUWvNqV/pFo3/4FG18/Gd/KIdtsWeu3jPm8B+CbVXIwaUU1HxOkTF+TYf+S+myKgwY0jkvMPcOMRwMON019Yi4EN68Tn+I6fFkPzNM6yzmkjvcrwC+DH41ovWs=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LOPURO-Assorted-Necklace-Bracelet-Handmade[fs]dp[fs]B097MTCY83[fs]ref=sr_1_120]]_Wed,-14-Jun-2023-11-39-19-GMT.pdf

   Hash (SHA256)
   7e522c66af3ced550328c1fdffc7372e46f75a8a985ed9f3e426bc674a3f46f1

   Signature (PKCS#1v1.5)
ihU5ZFYVr+1BnB/XmzCPrSO12JJ1zWMaUV1nNJpdtEQ9pyDd3lVt2/hhJGX4vCTgpVgi30GVsp6A7Mtcj8ROpJIK5ZnMzeISyB6eohocobGCyFgJaV3F35OFFCXK2wpCJXOygZj263kLfbgi9Z719T4dU95Z+c3fNXIAoCjULBE=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 11:18:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   YMtjU5PR2Zbs0l6iyk9UtCknJ+LLZfTHFkTp7VehV0l9jxo/Mvqfhs5SFjUqqHU+0T2a1esWXbZdMbavhh1LN1hQCZd2lw9WxKYyLeBbhjVbRUwBiCybIIut2OvF2EEXG7y7/uQX8qyCWFKK7FRZzoo8LydDQpxMCpVXqROny3Oy14QjqQ6HBDjNBQ/RF9ntUsjoBp/
   Z3gBogiOzkyb7YU4duGxdgNOZn7hIHagjD8X3LxcLO50wDAeQTWgbKA4G8WO8MDzRPzAOHizqHvpQ4HNjMiyRTwfMZho92TlE/2PB12/7FebOO2Qn5Mou4svhLkJsts8O1e+yEINk1n8JmQ==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-11-18-21-GMT.mhtml

   Hash (SHA256)
   bf49d840b14939b0ed0b3de4db34a6ca6e6271d91e81a3cf8a2acfbc71fc6f02

   Signature (PKCS#1v1.5)
YJD7rAXWvTs4DQP2yYKKSZc1npXGhrq98+EmkXHB9q4VKMWzJmTYrRwZqHZzjW4zvnqUudkY4jS3OKzGuh+UNzR5RghF44SMygWv8m6pOajSndoYHs31DidlufO+Q5jjmVYQ2fAVTmpLfxtEf9BHs0i+W1HBRAArDZoixrstaqGWsPEHBqNeg6Q7spvq2WpS
+U0ghl9uz8s5QHhGhRgPnpgUmEns5HJLLurxkW37uZn0pwRzl74niqiZo2tbNqLgrcWieV6fY3M6wlzaD5WVujMq/PXDwGISfyKJllu6jSWJYavEB4trrJw2CkmrLyb4aLhQXGb/mTWH/dIzyWgBlw==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 07:43:09 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Y6rUV2vwxueDJK1fzyROw1zK510WhzDM+QpMLHKUERJ9Sb3U63Een0mWjFxSqKsy8ha5kda9zy7AatDx+OTQGK5+dKKBrDj4I1xk343PPSnrSDH+ROQVhkayzm5YnkEZfZbH2/8th83EyGZz2AITmKIpDoclPBrUso6O3Xig1PHqeQ1fMynJ0de1+acpwS5uFH79pn/
   q33MyNvKkAVF392AGJkgTU8xuvpOQFBH8KV2wJkXagZtGh1J89dh87uJRpKrA7p16TeiicYzkf7JHq6GDz9F4QgX6Edjr/kAKg6Df5xITQpsTZ1V9Qq7MmuA6SVYm3+bm3ctOqMKj/wNqiw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-07-43-09-GMT.mhtml

   Hash (SHA256)
   06e4e77a599695669da19d66b4dc7c14967968182d1272ac61e149ff21fd9b9e

   Signature (PKCS#1v1.5)
qAafs3xw6/xtePKjZC29nRCTQUAtpqssT2mtpCgfN8JvPpQeSFERW4sKFBQEtAHYPOJjkZVKNMrCjPUK+LsfR9loaOdKsOm+ISNWRWvey3tsHAYDTLZLwVx3ZOaWr+2WjmQEjFIIEgtzUOzgXNUJ39rsV3/i8P+OC6CkK/
yKuN9j9d0zx3PbknWtNRrh2MeHexLXbNODqnZplTVtHmx9qdyvSP4KPKEGlxfkuYQPJ0NdWG8W4dsKQ30NDUF5sBf4/vw5KdRpbBP59X1xoN2+3xz0l0DTo8rBgIpwEqzbpn1RZXXa9EAHUE/Ua4RGtng6mgb7pgWmk6L51WoKxjluUQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                                              Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: LOQUPE Designed for iPhone 12 pro max Case, Heavy-Duty Tough Rugged Lightweight Slim Shockproof Protective Case for iPhone 12 pro max 6.7 Inch,Women Girls,Liquid Smiley Pattern : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0BKFLG9SQ

   Collection Date
   Tue, 30 May 2023 07:23:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   OG+JokSoGqO4n+7CvLX0nn+m0MSgOEgd4GuRxkQDsBjpHPuzBVr2aVrSxKImx2eBUVVmJb9npZ6gH/lURIGk6Ah324i4v03DdsxUhwlewxr1j2sKXRMmlNG833oI2+aF40+648ZHAYdO70keHN+JRDUkapN7JLlr8H3SoHH09TkMsBMIdDWycqV8uerK1LxqOFzcRniTMHN/72wwo
   +wEvt7f2UUEyWHaya+dZKFueXqBdtrUxQ/byKdg+vgxra2fXFnwrl/5a4g8s8JLMceasQDjNStVcghu81ZpZEbnkAi5E/SSFapCM1qi5ForrU9PeHBl1hGYClvRLYsSVb7vBw==




                                                                                                      File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BKFLG9SQ]]_Tue,-30-May-2023-07-23-47-GMT.mhtml

   Hash (SHA256)
   a2fb60740d51724a254c40a8b0b21e97915a1e698ab33f03e3c8261365867c2d

   Signature (PKCS#1v1.5)
fjNC8YqMMVdKvpruNrnUTU1j6WOid1aKpVK/4Au5IFKIIoYdLWL2nAiYg69c9CEX9qHgiN4593bhYMicU8X/RMVhuG70Rq8tkmsilqgi431+bsU1ZG7n4Tn10jcfUIiGLe0chuvhUV/6fhR/
Ru7buZccxSeykbG1fJZSER9+LQXQj2gRFH0fGsnnVB5Idt84pIuC29bDf4hlZfb0dmzbKwUtJH3IG6QwPHKtkaqnrwKCnBWLckn1qJnZigBG1krpzs16qKUot7bpf5WdHF6FtXGZkknrOf04qsF0dQUHKQ/G83wnJjJt6cuXvXEc2i2VRDEGcnRdecHpJWMGYokMeQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                                                                              Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LOQUPE for Samsung Galaxy S22 Ultra Case 6.8" Heavy Duty Drop Protection Full Body Rugged Shockproof Military Protective Phone Cover Tough Durable for Samsung Galaxy S22 Ultra 5G (Smiley Face) : Cell Phones & Accessories

   URL
   https://www.amazon.com/LOQUPE-Protection-Shockproof-Military-Protective/dp/B0BVBDRVQP/ref=sr_1_146

   Collection Date
   Mon, 24 Apr 2023 11:12:58 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   X8b8mImiHdmH+HeX+Kyi+AOJPtKm93sTU1b7m/jszyz7kWeAIOZE7dW3JAn4FTAKXec4UNHLOWrHdXaCrxjZn9z8X2E7IO8CG83Rkc11RHFvmt6T1lFSTZpIswI+5MYo0T7u+eO0k6npFKFrpe2rj4+KXiYLSUehLl7hAPrdCAw=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LOQUPE-Protection-Shockproof-Military-Protective[fs]dp[fs]B0BVBDRVQP[fs]ref=sr_1_146]]_Mon,-24-Apr-2023-11-12-58-GMT.pdf

   Hash (SHA256)
   312d7184a659674f010400c069661523785a4dd5a8bd29f61d6e28df0070772a

   Signature (PKCS#1v1.5)
BCDYPVxvhT0Y8NcmmXphfds10i2xTFp+zarS5OfXsdsh8cQ9nh/Ew0pGpTOMqqJxu2WyYbCHyjjGmqMdNnhftHwp4gDMhAOZE4KOFc32ApxDu4z8U9knnYfhpfOK7cznu1qChZV76PS06/abNzK152dMDCPZ6JxC/uaNySVczus=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                      Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 16:44:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R8UuM7w9kr3jAzj2j1L2aDK8Y5m6Fa6UaK08iVCfNCIKTMBa06Izgh2XJ6OfEPrvZL19/H2wFxY2dDAI7vFqXdN7jlVfPlhQDaAGPjehHkC51SyVs5Jlc3ZeQMlzy1R1IeJ2tIr7j7/KokMsqGrZBokXlNZ/HwYB+A/
   zunv8xbmJZ3v31x6h40p8Rh7Pl6ZCsrmPMI3Pz0pysK3UdpQ6PAZeXx0dHcV9r8jkXxnW19seJ+M0HXZnpSl7XnzLt/VlXbFlsYhf+9SlOqAA0sQlEso3uuUn/562m25jb1MYyeXRQMFJTqAUySlZm4K1HB1sGJnksDj90oNDbTjZgl3HWw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-16-44-21-GMT.mhtml

   Hash (SHA256)
   c6184b8a7db30340f9284bede81e961d7de79ddacf72a836e82ec7c64c898e42

   Signature (PKCS#1v1.5)
JKLOv0gow0prYjZswRZ9qSrBQ3mVjCOZwskSy3nlU3iZu0OReYcRWltvLmDsbFJnUXSNSYoc93rb5cnU0LAEP+eZSG4JuIoWl6cjmOuJI4C+esLsQ7xCujNnon+k3kwuijxwzFwtMjjEaHEAi8XghAg4FezGo8Pn+XAO4W/rg85R7TcD31VjNGvbdkpyQPm+fv/
LLpoNXMzrrTBdekA3xSipzpkVXt1HVpedDRqP2b4KLzIPbeir210Xwko6mAIiJ017fEHVsOWwatK0rLYUK2KcjoGMtujX9WcM4AtqUJqzi7vn2DUhjLXMbftQN0TKxKoZPUPZ2M+x17f2azA42g==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                                       Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 15 Jun 2023 10:20:24 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.41.44

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fsj1ZRCSQMJXY7PHrh67oKKaVdkOFvyyGQrCdLMnusGqUgF+EGKRqO+c5ekC45oJolqTLQbrKnOeSxJcEibDVmwJlTogI3hsL9wIXHMrTkNDkF80gVYyCHug2+t2PbCR8rC5IyURSSLRWoHTI0K2UsdvTtiQNOQbsQNBQ
   +A7rTImecRe5EKQ6umMEUtECTkZYsrdNz9PZ2ZkkWnum7CYAWKA5ebRE0w6nmBgToHeehaU+0AxDMZmwmybmrtJ06iI3dlNA+hGInpHw9xVv1AeYX+53ffikjMMGBwjGJnOmiczmwH9s6tN2g6A7PEmbpGbvF0lDQUIobaI9055o8AWRA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-15-Jun-2023-10-20-24-GMT.mhtml

   Hash (SHA256)
   8da3ad88fed831377a5b31acaee78c85daf04a106f35d3e880219ed369dc0acf

   Signature (PKCS#1v1.5)
nRrxeeN8w/ljIUC5gV9zOw29X3zUSzaSEWdOmjPSSZ8Bh/3vVSBHpgrz3nISO5xdJ0difqc4RKJsc4c15V4SuiiFadmiO0jQWYmHBhab/K8HfnGhhkZNVjZByzgfwgZ0vvxGgofssLiUkr7v//51g5UNPQskxzL+SV48XKoDaqXpD7hSlE0yPr0P/4rfc6q/WaC/
cu5H2YpA3d6HG5LSlWAUT0YF8HPMMf7l6B6nti/HdIAcpEXokHDL1RbqIgzRyRAaB0UZqq3aI3nwvn0PktgsM4vI1g5bZpAoSxRZg1rNoYEFcGjyQ4nI8ukxXnkvOz+orG++62BDgySZSFzjrQ==
                                                                               Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                                          Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: QUEFE 50400pcs, 84 Colors, 2mm Glass Seed Beads with 300pcs Alphabet Letter Beads and Smiley Face Beads, Small Beads Kit for Bracelets Jewelry Making Kit, Necklace Ring, Craft Gifts

   URL
   https://www.amazon.com/dp/B0B46516GQ

   Collection Date
   Thu, 15 Jun 2023 10:46:35 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DlNvW+VXYpACLU83FPnBTsDv62wusdR7w4oY45Mon13m8D3BCxwmu5fUgU185LK4FD5vbqmiHkEMZ6Fcwti+grIfaJg2lAa1HZ1HATa8UbDlucAbsSI30Y+/CawpEfbT8ci+66jc5zHvZzUoMNSb/bsqhL9wd7ubmPuD3BokdVzoUReJbj6+KZ9Be5KOKhX29v+4kC7h8bcyiggWz3zRjbu
   +JIgtzeac5X3ggsEJLynO9f/mv2GO9eeka/ZNjZJdQaJmwsFCcZ2Sm/vSHXZac3aGlQaXnJMHZ6kLEyF44htmTC24DetvHmCSl48UvNZWFdgwfJklTs85h0+y2UeJ1g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0B46516GQ]]_Thu,-15-Jun-2023-10-46-35-GMT.mhtml

   Hash (SHA256)
   38332c9721546375c827e48387b80b9f4bba045f816a02d8f9fb48fd706f6411

   Signature (PKCS#1v1.5)
NyOp+kaDBICH06emmtg0dfoiUg8odaRvSLyadZsTfJ1nBpflUl9rvB8uRosSjC290uFZu+UujZ3y2YdO6z+xU/usR+pl/dtjo/v8q/z2tagN/ML4ywcDcPSd0ccF7ncJgXAQNSw0w1znjzh1DwB5GdiBtoqxghQ/rPInd9PhHkw/tPQpE3J/dMcWrBG5Mmj5NwNyZW71lq8rTUk0AbuzzGmmp/
ue54y/07s85mXqFKonXkycdLAAhPbuaTjx+anP5uAf0VmjgGdzVidzo5aSoa/ANn7c/6ap8luw1ZRT7gG7Vin+MhjZOfbbZ8nLIryGalhM04ZFmSqyEUsLKdTLrg==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                                                           Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Lovmooful Compatible for iPhone 13 Case Cute Clear Color Smile Flower Cover Camera with Smiley Chain for Girls Women Soft TPU Shockproof Protective Girly for iPhone 13-Smile : Cell Phones & Accessories

   URL
   https://www.amazon.com/Lovmooful-Compatible-Shockproof-Protective-13-Smile/dp/B0BD3PHXJN/ref=sr_1_136

   Collection Date
   Mon, 24 Apr 2023 11:10:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   FKFkXi52qfzkX5Th62rJgLJvsUOvU0Ddh5txpV5CY9RLkhAPHdOS/xGLDeVlruwXsVHvRpT9ODcubWQFagItC0YRCDoKT5VXjTBG88s0eAopI4b1Dx6Wb0era+4p50pbo5saLnttsf/kJNOojtTlN1w/78DUuzHxdJVggHVfo9c=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Lovmooful-Compatible-Shockproof-Protective-13-Smile[fs]dp[fs]B0BD3PHXJN[fs]ref=sr_1_136]]_Mon,-24-Apr-2023-11-10-38-GMT.pdf

   Hash (SHA256)
   fc5feceb9d0fd6be5e87c9275a18565fc4042c3d68270036129c4c52ef32cd03

   Signature (PKCS#1v1.5)
Jr6e1ExuwdVy6fDuWB6oIJrVZyZn09NJsIAMmfMdm40pmFUQ3A3k05JnbdAzY5S5T0pzUMOvIXYbIua/QjwcUwaOOfORrN0YnNoEeFBZ8zw7oE8ikz8KjjT79Sf98bWMAxpCaq8EGaGVIR+oMQOmDwCOcxTgSlzsrOVb6RYNYMs=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                               Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 15:36:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   BvhIYbhs0zQApDdISJgsUg64lSBm7hcT8BgPJ8WLPBhg0lijHogL5gEyeijt4MGjYVAIFSV4oOqxRp27tycagrTat1Gt9mPj9ca0nDnpK2TLbA/e+2WpVajfdyWCVN/p3hXztC5ELPcPw8blBBWV0bcv0l7Z9/G9gZ01B+DUxEoFQSnpQA5n2gXJgTQgJg4cBA4VfXVeIVXzRkN80sw6ljQ
   +db8cHfVgmWswc6Rw5B7NNBS2LKyyxpmCyrPqKbXjv7jKL9rXaf3a1GMzyMHEgwPGCV+UNybjuMkjRfpWfps4h9ZtsPHJxrFnjXhYvpuSdecmbVhj2HojzpykWAFOrw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-15-36-48-GMT.mhtml

   Hash (SHA256)
   730cadcd565d4f0b0530b93c65c091914d17fa5b9a23b31544bd6781539fd18c

   Signature (PKCS#1v1.5)
ZG4ybXVwgYYX89cN4o52iv5r8tMx5rX7LPGdvNrojWlXwAaE9/37+YSYx38rqH6fn5q3DiPg/PgOEq50fylC1wWSfbCgyJ768MDqOUuPQxlWs3KzlISVQqMR4bvaFAuPGl2VPOBU1ryHmbgikInOZIjtNmJCbKIfCh2+LYKSCn++iVDGN+TUoGVHQ7oa/
pnrPfPpKHCSd3UzR9DvirFPhHVB4yesOadCO40LQ061+LvOKZx5zquzYe7rk6YfQ4myoIHA+bupExZqfk0f29Yq5vAWDifEs8OEAnLgCMplCwDq3kRyr2NXV3wO2qMqXC8jWick1pMCi3K5u6uVGrGf8Q==
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: LOYJOY Colorful Enamel Happy Smiley Face Stud Earrings For Women Small Round Gold Earrings Ear Piercing Jewelry - Black : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/LOYJOY-Colorful-Earrings-Piercing-Jewelry/dp/B0B5WQZSRQ/ref=sr_1_138

   Collection Date
   Thu, 20 Apr 2023 05:01:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   RZqUNTnTKeUBpbXOIaywVUOa9a3o3dC6sPVZ9YH6yZlLbmQ2y5qnS7MtwYWX1+XP2YSxD7cUTO7co+SY3Uz6vTDZVwdQiWyBFoRTMYVc/FsUO750Dxf6rF1Z6RX2ZI32kNgsr301THaLxZhmbhtPS5eTHZo3AeHb1D2Uzy3Tyxk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]LOYJOY-Colorful-Earrings-Piercing-Jewelry[fs]dp[fs]B0B5WQZSRQ[fs]ref=sr_1_138]]_Thu,-20-Apr-2023-05-01-43-GMT.pdf

   Hash (SHA256)
   0abc6d5d525ec9b94548d2dac688e99d6cb8f7f10b7bea5ccd562a4ee07fbf21

   Signature (PKCS#1v1.5)
qTJiNjaM89GcB3agPFZPpTaP1zZM33g7lkLX5fCyNFOo+ryuM7yLjUlQabiovEfswO3WThzMlMzCok7fjpsiWrDVWAFzp9JqG+9vAduiADfEDtnGKShkEcWNvcWEol3AUnbAB7VG0Uw/+hkL+djB8kNcL9LQ20jEB+XCurYRRSI=
                                                                                Case 0:23-cv-61203-AHS Document 36-5 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 10:40:42 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2001:ac8:9a:d::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hXFZi+hfMZ+6euQzK4ouq1wsSwo8P8KEpNnWht6EB13PscQ8QSdu15R6Iknc1BuiYk3VVk/cqZsTFYVu3O1zybQ9Tmo/HburRi8eFjXuAbAfMosfJ9VUTh5bE9nxMFHtWsvWyzhTzyKCm/TjwEvgo1ZrK2WFd/
   p1GI1OhVHam3PuWp74TscSRcXrtCqaSN7xjdKkc28pwF3+uhZBlmCY8nFKt92UMK4guOEPO2cOsh+SNrO1q7p3BTMulTT6Bter6DAtAcX5rJdJ4pEp9AShvH44Z2W6QzzuoXWghPe2W5beJh6ZOmZwEHggOPMB0K3XUEJgUS7NXKngVN/dYkX2dw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-10-40-42-GMT.mhtml

   Hash (SHA256)
   33c51723d1aa93d50c0106944534000d903e0125567530a405aaeabe0d70e82b

   Signature (PKCS#1v1.5)
fFTh8E86Aj4tsCkdQ35tFAWV5WH99WXK8udD2Ipp6EZUNzZTLP1woxvGoCdiP8PQ4e2/JJwrNxEr3y74TVzb/7ntPNnzZoCNuRCkZNI+ajDC9vnl8b+PB2UDa29UxTNZn6XvvvmImXkyEx9lioydttSqzY+Ili0VY6YZRGsB+3rsjdB51OVKqFX6iBason
+BhDiqjhegBowa6gkmZFNUydXjqrxK0qmHKgRJYKEt6MCtdqqBzkPt/KvfY1ZqinmlRzCfFKaahLAHfZvq2URZrzZ8FF/+HCMMQZtr50MGIAbQxOVhNcXoGzc4qy6bOTfy41GwB3YKVqoqxNNptm6ZaA==
